  Case 6:18-cv-00170-RSB-CLR Document 29 Filed 03/07/19 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION


 ALICIA BUTLER,

                Plaintiff - Appellant,                   CIVIL ACTION NO.: 6:18-cv-170

        v.

 THE GEORGIA DEPARTMENT OF
 CORRECTIONS, et al.,

                Defendants - Appellees.


                                            ORDER

       The appeal in the above-styled action having been dismissed by the United States Court of

Appeals for the Eleventh Circuit,

       IT IS HEREBY ORDERED that the order of the United States Court of Appeals for the

Eleventh Circuit is made the order of this Court. This case remains CLOSED.

       SO ORDERED, this 7th day of March, 2019.




                                         R. STAN BAKER
                                         UNITED STATES DISTRICT JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA
